                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE         ORDER:
                              NASHVILLE DIVISION       The motion is GRANTED.

FEMHEALTH USA, Inc., d/b/a                )
carafem, on behalf of itself,             )                      ______________________
its physicians, its staff, and            )                         Alistair E. Newbern
its patients,                             )                        U.S. Magistrate Judge
                                          )      Case No.: 3:19-CV-01141
        Plaintiff,                        )
                                          )
v.                                        )
                                          )
CITY OF MOUNT JULIET,                     )    DISTRICT JUDGE RICHARDSON/
TENNESSEE; KENNY MARTIN,                  )    MAGISTRATE JUDGE NEWBERN
City Manager of Mount Juliet,             )
in his official capacity; JAMES           )
HAMBRICK, Chief of Police of              )
Mount Juliet, in his official             )
capacity; JENNIFER HAMBLEN,               )      JURY DEMAND
Zoning Administrator of Mount             )
Juliet, in her official capacity,         )
                                          )
        Defendants.                       )


 UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE
                        PLEADING


        Defendants, the City of Mount Juliet, Tennessee (the “City”), City Manager Kenny

Martin, in his official capacity, Chief of Police James Hambrick, in his official capacity,

and Zoning Administrator Jennifer Hamblen, in her official capacity, (collectively “City

Defendants”) move this Court for an extension of time to file responsive pleading. In

support of this motion, the City Defendants would show unto the Court as follows:

        1.      On December 18, 2019, Plaintiff filed a Complaint challenging a City

Ordinance 2019-16 (“the Ordinance”), which was introduced in March 2019, and provides

for the guidelines and requirements for surgical abortion clinics within the City. [D.E. 1,

Complaint.]


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        2.      Plaintiff served the City and purports to have served the individual

defendants through service on a City administrative assistant on December 19, 2019.

[D.E. 9, 10, 11, 12.]

        3.      The City Defendants seek an extension of time until January 31, 2020, to

file their response to the Complaint.

        4.      Undersigned counsel conferred with counsel for the Plaintiff, and Plaintiff

does not oppose the City’s request for an extension of time to file a response to the

Complaint until January 31, 2020. In light of Plaintiff’s agreement for the extension, the

individual defendants waive any objections to whether service through a City

administrative assistant was proper.

        Based on the foregoing, the City Defendants respectfully request an extension of

time to respond to the Complaint until January 31, 2020.

                                           Respectfully submitted,



                                           /s/ Cassandra M. Crane
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